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                                              May 11, 2018

 By CM/ECF and E-mail

 Honorable Michael B. Kaplan
 United States Bankruptcy Court
 District of New Jersey
 402 East State Street
 Trenton, N.J. 08608

          Re:    Princeton Alternative Income Fund, LP, Debtor
                 Case No. 18-14603 (MBK)

 Dear Judge Kaplan:

        This firm represents the above-referenced debtors and debtors in possession. This Court
 has scheduled an evidentiary hearing on the Debtors’ motion relating to confidentiality issues
 (“Motion”) for May 12, 2018 at 1:00 p.m.

         We wish to advise the Court and interested parties that the Debtors plan to call Jack Cook
 and Walt Wojciechowski as witnesses at the hearing. They are expected to testify regarding the
 need to maintain the confidentiality of certain information in these cases, including the Debtors’
 customer and investor lists, documents that were produced in accordance with the Confidentiality
 Order entered in the pending JAMS arbitration, and other commercially sensitive information; the
 Debtors’ contractual obligations relating to confidentiality; the actions the Debtors have taken to
 preserve confidentiality; and the Debtors’ response to any objection asserted by a party-in-interest
 to the Motion and the relief requested therein.

                                                                   Very truly yours,



                                                                   VALERIE A. HAMILTON
 VAH/jlt



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